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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT oF CALIFORNIA
UNITED STATES oF AMERICA, )
) __ , q
Piaintiff, ) CD 0 g 3
)
v. ) oRDER oF DETENTION AFTER HEARlNG
) (18 U.S.C. § 3142(1))
haw gsa /Md,eaocz_ §
Defendant. )
)
I.

A. 06 On motion of the Government involving an alleged
l. ( ) crime of violence;
2. ( ) offense With maximum sentence of life imprisonment or death;
3. §4` narcotics or controlled substance offense With maximum sentence of ten or more years
(21 U.S.C. §§ 801,/951, e_t.s_e_q_,,/955a);
4. ( ) felony - defendant convicted of two or more prior offenses described above.
B. On motion 94 (by the Government) / ( ) (by the Court ga §Mit_e involving)
l. §§¢)_serious risk defendant will flee;
2. ( ) serious risk defendant will
a. ( ) obstruct or attempt to obstruct justice;
b. ( ) threaten, injure, or intimidate a prospective Witness or juror or attempt to do so.

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ORDER OF DETEN'I'ION AFI`ER HEARING (18 U.S.C. §3142(i))

 

 

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II.
The Court finds no condition or combination of conditions will reasonably assure:
At 94 appearance of defendant as required; and/or
B. §Q safety of any person or the community;
HI.
The Court has considered:
A. w the nature and circumstances of the offense;
B. Q§ the weight of evidence against the defendant;
C. ()§`the history and characteristics of the defendant;
D. (S<the nature and seriousness of the danger to any person or to the community.
IV.
The Court concludes:

A. 04 Defendant poses a risk to the safety of other persons or the community because:

 

 

 

 

 

B. §O_ History and characteristics indicate a serious risk that defendant will flee because:

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C. ( ) A serious risk exists that defendant will:

l.( ) obstruct or attempt to obstruct justice;

 

 

ORDER OF DE'I'ENTION AFI`ER HEARING (18 U.S.C. §3142(i))

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2. ( ) threaten, injure or intimidate a witness/ juror; because:

 

 

 

 

 

 

 

D. ( ) Defendant has not rebutted by sufficient evidence to the contrary the presumption
provided in 18 U.S.C. § 3142 (e).
IT IS ORDERED that defendant be detained prior to trial.
IT IS FURTHER ORDERED that defendant be confined as far as practicable in a corrections
facility separate from persons awaiting or serving sentences or person held pending appeal.
IT IS FURTHER ORDERED that defendant be afforded reasonable opportunity for private

consultation with his counsel.

   

Dated: //7`3/0 S;" / 1 £”_\

John C.&a'yburn, Jr., U.S. Magistrate Judge

 

ORDER OF DETEN'I'ION AFI`ER HEARING (18 U.S.C. §3142(i))

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